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U.S. Department of Justice

Carmen M. Ortiz
United States Attorney
District of Massachusetts

 

 

Main Reception: (617) 748-3100 John Joseph Moakley United States Courthouse
1 Courthouse Way
Suite 9200
Boston, Massachusetts 02210

June 12, 2015

Behman Hambelton LLP
Keeper of Records

600 West Cummings Park
Suite 5600

Woburn, MA 01801

Re: Grand Jury Subpoena

Dear Sir or Madam:

Pursuant to an official investigation being conducted by a federal Grand Jury in the District of
Massachusetts of suspected violations of federal criminal law, you are directed to furnish to the Grand
Jury the documents described in the attached subpoena.

You are hereby requested not to disclose the existence of this subpoena, or the fact of your
compliance therewith, to anyone. While you are not required to comply with this request, any such

disclosure could impede the investigation and thereby interfere with the enforcement of federal criminal
law.

If you have any questions regarding this letter, or the attached subpoena, please contact Special
Agent Ronald Mullett, IRS-CI, 60 Quaker Lane, Ste 68, Warwick, RI 02886;
ronald.mullett@ci.irs.gov. SA Mullett can be reached at 401-826-4724.

Very truly yours,

CARMEN M. ORTIZ
Uni tates Attorney

   

 

By:

 

SYEPHEN P. HEYMANN

Assistant U.S. Attorney
Attachments
 

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AO 110 (Rev. 06/09) Subpoena to Testify Before a Grand Jury

UNITED STATES DISTRICT COURT

for the

District of Massachusetts

SUBPOENA TO TESTIFY BEFORE A GRAND JURY

Behman Hambelton LLP
To: Keeper of Records

600 West Cummings Park

Suite 5600

Worburn, MA 01801

YOU ARE COMMANDED to appear in this United States district court at the time, date, and place shown

below to testify before the court’s grand jury. When you arrive, you must remain at the court until the judge or a court
officer allows you to leave.

 

Place: Grand Jury Room, 10th Floor
John Joseph Moakley Federal Courthouse

1 Courthouse Way 06/25/2015 10:00 am
Boston, MA 02210

Date and Time:

 

 

You must also bring with you the following documents, electronically stored information, or objects (blank if not
applicable):

THIS SUBPOENA REQUEST IS FOR PRODUCTION OF DOCUMENTS, as set forth in the Attachment.

in lieu of appearing before the Grand Jury at the date and time shown above, you may comply with this subpoena by,
at your option, causing the materials described to be mailed or emailed to Special Agent Ronald Mullett, IRS-Cl, 60
Quaker Lane, Ste 68, Warwick, RI 02886; ronald.mullett@ci.irs.gov. SA Mullett can be reached at 401-826-4724.
Such documents must be received before the return date of this subpoena.

The attached Certificate of Authenticity must be completed and returned, along with a copy of this subpoena.

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|

           

Date: __ 06/12/2015

 

 

The name, address, e-mail, and telephone number of the United States attorney, or assistant United States attorney, who

requests this subpoena, are:
AUSA Stephen P. Heymann LR
United States Attorney's Office”

John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 9200

Boston, MA 02210

Telephone: 617-748-3100

 
 

 

 

 

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AO 110 (Rev. 06/09) Subpoena to Testify Before Grand Jury (Page 2)
PROOF OF SERVICE
This subpoena for (name of individual or organization)
was received by me on (date)
O1 I served the subpoena by delivering a copy to the named person as follows:
on (date) ; or

 

I returned the subpoena unexecuted because:

 

 

I declare under penalty of perjury that this information is true.

Date:

 

Server’s signature

Printed name and title

 

Server's address

Additional information regarding attempted service, etc:

LJ For personal appearances only:
Fact witness travel and reimbursement instructions are attached.
If you have travel or reimbursement questions call witness travel coordinator
Jod Gird-Rodriguez at 617-748-3166.

For after business hour emergencies, call 617-748-3100.
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ATTACHMENT TO SUBPOENA DUCES TECUM ISSUED TO:

Behman Hambelton LLP
Keeper of Records

600 West Cummings Park
Suite 5600

Woburn, MA 01801

FOR THE YEARS: 2005 - 2009

Please provide the following documents in your custody whether electronic, in paper
form, in electronic mail or any other form related to the financial transactions of:

DANIEL P. GIBSON (XXX-XX-XXXX)

And

GIBSON & BEHMAN, P.C. (XX-XXXXXXX)
One Mountain Road

Burlington, MA 01803

Such records to include but not limited to:

All records used in or resulting from the preparation of federal and state income tax
returns consisting of but not limited to draft returns, draft income statements, pro forma
financials or other summaries of income related information shared with the above
individual / entity or otherwise, work-papers, notes, papers, calendars or appointment
ledgers indicating the time, location and participants in yearend accounting meetings,
memoranda and correspondence used or prepared by you relative to the preparation of
the aforementioned returns.

All records reporting the financial activity of the firm whether intended for use outside
the firm or for internal fiscal administrative purposes only consisting of but not limited to
summaries of billing activity, accounts receivable, daily or weekly cash collections,
deposits to operating accounts, outstanding debts or accounts payable, status of
deposits made to or due to passbook accounts and any other periodic reporting
generated internally or externally which could be relied upon when making fiscal
management decisions. These records do not include bills to clients, whether or not
reflecting particular services performed.

All records, memoranda, work-papers, notes and correspondence used, received or
prepared by or for the aforementioned business whether requested or when provided
without solicitation concerning the fiscal operations of the aforementioned business or
its principals. These records should include but not be limited to, solvency or turn-
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around plans, whether suggested or adopted, establishment of lines of credit from
banks or other financing parties and business expansion or contraction decisions.

INSTRUCTIONS FOR PRODUCTION OF RECORDS

I.

Il.

Il.

IV.

General
A.

Text Data
A.

Image Data
A.

Records existing as Electronically Stored Information (ESI) shall be
produced in electronic form and shall include text data and image data
held:

1. In your record retention systems; and/or

2. By your technology, data, or other service provider(s).

Records that do not exist as ESI may be produced in paper or other
original format and may be converted to image or text data and provided
as ESI, unless originals are required.

Text data relating to transactions shall be produced within a data file:

1. Using a delimited ASCII text data format; or

2. Using software that can export to a commonly readable,
non-proprietary file format without loss of data.

Text data files relating to transactions shall include field descriptions (e.g.,

account number, date/time, description, payee/payor, check number, item

identifier, and amount).

Image data shall be produced in graphic data files in a commonly
readable, non-proprietary format with the highest image quality
maintained.

Image data of items associated with transactions (e.g., checks and deposit
slips) shall be:

1. Produced in individual graphic data files with any associated
endorsements; and
2. Linked to corresponding text data by a unique identifier.

Encryption/Authentication

A.

B.
C.

ESI may be transmitted in an encrypted container. Decryption keys and/or
passwords shall be produced separately at the time the data are produced.
Authentication, such as hash coding, may be set by agreement.

Affidavits or certificates of authenticity may be included as part of the
electronic production.

Cost Reimbursement

A. Costs that are reasonably necessary and have been directly incurred in searching
for, reproducing, or transporting records may be reimbursable. See the Right to
Financial Privacy Act, 12 U.S.C., Section 3415 and Federal Reserve Board
Regulation S, 12 C.F.R., Part 219 (revised effective 1/ 1/2010).
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CERTIFICATE OF AUTHENTICITY
OF
BUSINESS RECORDS

I, , attest that:
1am employed by ;

that my official title is ; and

that | have been appointed the keeper of the attached records.

Each of the attached records is the original ora duplicate of the original records in

the custody of

 

| further state that:

A) these records were made, at or near the time of the occurrence of the
matters set forth, by (or from information transmitted by) a person with
knowledge of those matters:

B) these records were kept in the course of a regularly conducted business
activity; and

C) it was the regular practice of this business to make such records.

| certify under penalty of perjury under the laws of the United States of America that

the foregoing is true and correct. 28 U.S.C. §1746.

Executed on

 

Date Signature

 

Location
